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11                           UNITED STATES DISTRICT COURT

12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                No. SA 18-257M

14                    Plaintiff,              [PROPOSED] ORDER DISMISSING THE
                                              COMPLAINT WITHOUT PREJUDICE
15                    v.

16   STEPHEN WILLIAM BEAL,

17                    Defendant.

18

19         Having considered the government’s motion to dismiss the
20   complaint, the Court hereby dismisses the complaint against STEPHEN
21   WILLIAM BEAL without prejudice.        The defendant is ordered released
22   forthwith.
23     IT IS SO ORDERED.
24

25     DATE                                    THE HONORABLE KAREN E. SCOTT
                                               UNITED STATES MAGISTRATE JUDGE
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